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       Plaintiff Mattel, Inc. (“Mattel” or “Plaintiff”), by and through its undersigned counsel, alleges

as follows:


                                    NATURE OF THE ACTION

          This action involves claims for trademark infringement of Plaintiff’s federally registered

trademarks in violation of § 32 of the Federal Trademark (Lanham) Act, 15 U.S.C. §§ 1051 et seq.;

counterfeiting of Plaintiff’s federally registered trademarks in violation of 15 U.S.C. §§ 1114(1)(a)-

(b), 1116(d) and 1117(b)-(c); false designation of origin, passing off and unfair competition in violation

of Section 43(a) of the Trademark Act of 1946, as amended (15 U.S.C. §1125(a)); copyright

infringement of Plaintiff’s federally registered copyrights in violation of the Copyright Act of 1976,

17 U.S.C. §§ 101 et seq. and related state and common law claims (the “Action”), arising from

Defendants 2012shiningroom2012, alexstore888, aliya_smile, bigmouth333, ccs_online999,

connie_monica, ebbpop, ejewelrycode, fanhuasijin02, fashionjewelry20136, fenghe2012, flyflower88,

futall, gloryroad2015, go-gift1225, gyl09047, hanjingyuhuaone, herpop, hg-tech-ltd, hmzsluck, ilante,

in-style1820, jialu-88, keepupop, ktmail, kzyu_17, laq01018, lucky992016, musenwaimao, newang,

ovepop2009, popular888, prcbey, santafe2016, summer*2010*, urchoice-ltd, xiaotwan_cbqzz,

xywl722, yumisell8, yunwawa527 and zhanytino (hereinafter collectively referred to as “Defendants”

or individually as “Defendant”) infringement of the Barbie Marks (as defined infra) and Barbie Works

(as defined infra), including, without limitation, by manufacturing, importing, exporting, advertising,

marketing, promoting, distributing, displaying, offering for sale and/or selling unlicensed, counterfeit

and infringing versions of Plaintiff’s Barbie Products (as defined infra).

                                        JURISDICTION AND VENUE

          1.       This Court has federal subject matter jurisdiction over the claims asserted in this

  Action pursuant to 28 U.S.C. §§ 1331 and 1338(a), as well as pursuant to 15 U.S.C. § 1121 as an



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action arising out of violations of the Lanham Act, 15 U.S.C. §§ 1051 et seq. and the Copyright Act,

17 U.S.C. §§ 101 et seq.; pursuant to 28 U.S.C. §1338(b) as an action arising out of claims for false

designation of origin and unfair competition and pursuant to 28 U.S.C. § 1332, as there is diversity

between the parties and the matter in controversy exceeds, exclusive of interests and costs, the sum

of seventy-five thousand dollars. This Court has supplemental jurisdiction pursuant to 28 U.S.C.

§§1367(a), as the claims asserted thereunder are so closely related to the federal claims brought in

this Action as to form part of the same case or controversy.

       2.       Personal jurisdiction exists over Defendants in this judicial district pursuant to

N.Y.C.P.L.R. § 302(a)(1) and N.Y.C.P.L.R. § 302(a)(3), or in the alternative, Federal Rule of Civil

Procedure 4(k), because, upon information and belief, Defendants regularly conduct, transact and/or

solicit business in New York and in this judicial district, and/or derive substantial revenue from their

business transactions in New York and in this judicial district and/or otherwise avail themselves of

the privileges and protections of the laws of the State of New York such that this Court's assertion

of jurisdiction over Defendants does not offend traditional notions of fair play and due process,

and/or Defendants’ illegal counterfeiting and infringing actions caused injury to Plaintiff in New

York and in this judicial district such that Defendants should reasonably expect such actions to have

consequences in New York and in this judicial district, for example:

             a. Upon information and belief, Defendants were and/or are systematically directing

                and/or targeting their business activities at consumers in the U.S., including New

                York, through accounts with online marketplace platforms such as eBay (as defined

                infra) as well as any and all as yet undiscovered accounts with additional online

                marketplace platforms held by or associated with Defendants, their respective

                officers, employees, agents, servants and all persons in active concert or participation




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    with any of them (“User Accounts”), through which consumers in the U.S., including

    New York, can view one or more of Defendants’ Merchant Storefronts (as defined

    infra) that each Defendant operates, uses to communicate with Defendants regarding

    their listings for Counterfeit Products (as defined infra) and to place orders for,

    receive invoices for and purchase Counterfeit Products for delivery in the U.S.,

    including New York, as a means for establishing regular business with the U.S.,

    including New York.

 b. Upon information and belief, Defendants are sophisticated sellers, each operating one

    or more commercial businesses using their respective User Accounts through which

    Defendants, their respective officers, employees, agents, servants and all persons in

    active concert of participation with any of them, operate storefronts to manufacture,

    import, export, advertise, market, promote, distribute, offer for sale and/or otherwise

    deal in products, including the Counterfeit Products, which are held by or associated

    with Defendants, their respective officers, employees, agents, servants and all persons

    in active concert or participation with any of them (“Merchant Storefront(s)”) in

    wholesale quantities at significantly below-market prices to consumers worldwide,

    including to those in the U.S., and specifically New York.

 c. Upon information and belief, all Defendants accept payment in U.S. Dollars and offer

    shipping to the U.S., including to New York and specifically to the New York Address

    (as defined infra).

 d. Upon information and belief, Defendants have transacted business with consumers

    located in the U.S., including New York, for the sale and shipment of Counterfeit

    Products.




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             e. Upon information and belief, Defendants are aware of Plaintiff, its Barbie Products,

                Barbie Marks and Barbie Works, and are aware that their illegal counterfeiting and

                infringing actions alleged herein are likely to cause injury to Plaintiff in the U.S. and

                specifically, in New York and this judicial district, as Plaintiff conducts business in

                New York.

       3.       Venue is proper, inter alia, pursuant to 28 U.S.C. § 1391 because, upon information

and belief, Defendants conduct, transact and/or solicit business in this judicial district.


                                               THE PARTIES

       4.       Plaintiff Mattel, Inc. is a California corporation, having a principal place of business

 at 333 Continental Boulevard, TWR 15-1, El Segundo, CA 90245.

       5.       Upon information and belief, Defendants are merchants on the eBay.com online

 marketplace platform, which, upon information and belief, is owned and operated by eBay Inc., a

 Delaware corporation with a principal place of business at 2025 Hamilton Avenue, San Jose,

 California 95125, through which Defendants offer for sale and/or sell Counterfeit Products.

                                 GENERAL ALLEGATIONS

                     Plaintiff and Its Well-Known Barbie Products

       6.     Plaintiff, through its family of companies, is a leading designer, developer, marketer,

 manufacturer and distributor of well-known children’s toys and games (“Mattel Products”) under its

 iconic brands, including, but not limited to: Barbie, Thomas & Friends, Hot Wheels, American Girl

 and Fisher-Price (“Mattel Brands”).

       7.     Plaintiff sells its Mattel Products worldwide through major retailers, quality toy stores

 and online marketplaces.




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          8.      One of Plaintiff’s most popular and successful brands is Barbie, an iconic and world-

    renowned fashion doll (“Barbie”).

          9.      Barbie was created in the late 1950’s by Ruth Handler after recognizing that her daughter

    Barbara had limited choices of toys to play with, unlike her son Ken. For example, Ken had toys

    with which he could imagine himself as a firefighter, an astronaut, a cowboy and a doctor, among

    other things. Girls, on the other hand, were mostly playing with bits of cardboard in the form of

    paper dolls used to express fashion play, or baby dolls with which they could imagine themselves

    as a mother or caregiver. There was no such thing as a three-dimensional fashion doll. Ruth came

    to realize that there was a market for such a doll with which girls could play with fashion and dream

    of growing up.

          10.     Barbie was first introduced at the American International Toy Fair in New York on

    March 9, 1959, a date which has since become recognized by Mattel as being Barbie’s birthday. 1

          11.     However, at the Toy Fair that year, Barbie was not a hit. The toy buyers, who at the

    time were mostly men, generally did not know what to make of a fashion doll in the form of an

    adult woman for children. Still, Ruth understood that when the doll got into girls’ hands, they would

    see the doll as a platform for imaginative play. Ultimately, when girls saw the first commercial for

    Barbie, orders for the doll went through the roof, to the point where Mattel could not manufacture

    enough dolls to keep up with the demand.

          12.     The Barbie doll soon became famous around the world, dramatically impacting the way

    that children interacted with dolls and the Barbie brand has since expanded to a vast range of

    commercial products, including, but not limited to, playhouses, toy cars, books, movies, games,

    puzzles and clothing (“Barbie Products”).


1
 Contance Gibb, 8 fun facts about Barbara Millicent Roberts on Barbie Day, NEW YORK DAILY NEWS, Mar. 9, 2017,
https://www.nydailynews.com/life-style/march-9-barbie-day-8-facts-barbara-millicent-roberts-article-1.2992330.



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          13.     During the first year of production, approximately 300,000 original Barbie dolls were

    sold. To date, more than one billion Barbie brand dolls alone have been sold across 150 different

    countries, as well as additional sales of non-toy Barbie Products in over 45 categories. Total annual

    sales under the Barbie brand are more than a billion dollars, with much of that revenue stemming

    from sales of Barbie Products other than toys.

          14.     The impact of the Barbie brand has reached heights and received honors rarely seen in

    the toy world. For example, Barbie has appeared in films, including the Toy Story franchise, 2 has

    had a section of Times Square briefly renamed “Barbie Boulevard” in 1974, has been depicted in a

    painting by the artist Andy Warhol, 3 has landed the cover of Time Magazine 4 and is part of the

    Smithsonian Institution’s collection in the National Museum of American History. 5

          15.     While Plaintiff has gained significant common law trademark and other rights in its

    Barbie Products, through use, advertising, and promotion, Plaintiff has also protected these valuable

    rights by filing for and obtaining federal trademark registrations.

          16.     For example, Plaintiff is the owner of a number of US Trademark Registrations for

    BARBIE or BARBIE formative marks, including but not limited to: U.S. Trademark Reg. No.

    689,055 for “BARBIE” for a variety of goods in Class 22, U.S. Trademark Reg. No. 741,208 for

    “BARBIE” for a variety of goods in Class 22, U.S. Trademark Reg. No. 768,397 for “BARBIE” for

    a variety of goods in Class 22, U.S. Trademark Reg. No. 810,106 for “BARBIE” for a variety of

    goods in Class 22, U.S. Trademark Reg. No. 814,995 for “BARBIE” for a variety of goods in

    Classes 37 and 38, U.S. Trademark Reg. No. 1,300,766 for “BARBIE” for a variety of goods in




2
  TOY STORY 2 (Walt Disney Pictures 1999), TOY STORY 3 (Walt Disney Pictures 2010).
3
  Hannah Moore, Why Warhol painted Barbie, BBC, Oct. 1, 2015, https://www.bbc.com/news/magazine-34407991.
4
  INSIDE THE BIGGEST CHANGE IN BARBIE’S 57-YEAR HISTORY- AND WHAT IT SAYS ABOUT AMERICAN
BEAUTY DEALS, TIME, http://time.com/barbie-new-body-cover-story/.
5
  SMITHSONIAN INSTITUTION, https://www.si.edu/object/nmah_1155897 (last visited Dec. 10, 2018)



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Class 28, U.S. Trademark Reg. No. 1,693,139 for “BARBIE” for a variety of goods in Class 25,

U.S. Trademark Reg. No. 1,746,477 for “BARBIE” for a variety of goods in Class 28, U.S.

Trademark Reg. No. 1,754,535 for “BARBIE” for a variety of goods in Class 25, U.S. Trademark

Reg. No. 1,769,285 for “BARBIE” for a variety of goods in Class 16, U.S. Trademark Reg. No.

1,773,571 for “BARBIE” for a variety of goods in Class 14, U.S. Trademark Reg. No. 1,775,637

for “BARBIE” for a variety of goods in Classes 3 and 21, U.S. Trademark Reg. No. 1,795,876 for

“BARBIE” for a variety of goods in Class 18, U.S. Trademark Reg. No. 2,040,801 for “BARBIE”

for a variety of goods in Class 25, U.S. Trademark Reg. No. 2,203,306 for “BARBIE” for a variety

of good in Classes 21 and 26, U.S. Trademark Reg. No. 3,287,023 for “BARBIE” for a variety of



goods in Class 28, U.S. Trademark Reg. No. 2,087,842 for                     for a variety of goods in



Class 28 and U.S. Trademark Reg. No. 2,639,971 for                    for a variety of goods in Classes

25 and 28 (collectively, the “Barbie Marks”). True and correct copies of the registration certificates

for the Barbie Marks are attached hereto as Exhibit A and incorporated herein by reference.

     17.     The Barbie Marks are currently in use in commerce in connection with Barbie Products.

The Barbie Marks were first used in commerce on or before the dates of first use as reflected in the

registration certificates attached hereto as Exhibit A. All of the Barbie Marks are valid and

subsisting and many are incontestable.

     18.     In addition, Plaintiff is also the owner of both registered and unregistered copyrights in

and related to the Barbie Products.

     19.     For example, Plaintiff is the owner of U.S. Copyright Registrations for Barbie brand

designs and imagery, including but not limited to: U.S. Copyright Reg. No. VA 945-179, covering

the Barbie head sculpture known as CEO Barbie: no. 98-20548, U.S. Copyright Reg. No. VA 1-


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884-053, covering the Barbie Silhouette Head, U.S. Copyright Reg. No. VA 1-694-866, covering

The Fabulous Life of Barbie – Barbie Spring/Summer 2010, U.S. Copyright Reg. No. VA 1-698-

616, covering The Fabulous Life of Barbie – Barbie Fall/Winter 2010 Style Guide, U.S. Copyright

Reg. No. VA 1-843-492, covering Barbie A Fashion Fairytale Fall 2010 Entertainment Style Guide,

U.S. Copyright Reg. No. VA 1-843-508, covering The Fabulous Life of Barbie Style Guide 2011,

U.S. Copyright Reg. No. VA 1-849-098, covering the Barbie 2012 Style Guide, Copyright Reg. No.

VA 1-849-097, covering the Barbie 2013 Style Guide, U.S Copyright Reg. No. VA 1-915-299,

covering the Barbie 2014 Consumer Products Style Guide, U.S. Copyright Reg. No. VA 1-915-304,

covering the Barbie Consumer Products 2015 Style Guide, U.S. Copyright Reg. No. VA 1-930-942,

covering the Barbie Packaging Guide 2010 and Beyond, U.S. Copyright Reg. No. VA 2-005-795,

covering the Barbie 2017 Seasonal Style Guide Consumer Products & Packaging and U.S.

Copyright Reg. No. VA 2-082-446, covering the Barbie 2018 Consumer Products Guide

(collectively, the “Barbie Works”). True and correct copies of the U.S. Copyright registration

certificates for the Barbie Works are attached hereto as Exhibit B and incorporated herein by

reference.

     20.     Plaintiff has spent substantial time, money and effort in building up and developing

consumer recognition, awareness and goodwill in its Barbie Products, Barbie Marks and Barbie

Works.

     21.     The success of the Barbie brand is due in part to Plaintiff’s marketing and promotional

efforts. These efforts include advertising and promotion through television, Plaintiff’s website,

retailer websites, print and internet-based advertising and placement of the Barbie Products at

dozens of authorized major retail outlets, both domestically and abroad, including New York.




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           22.   The success of the Barbie brand is also due to its use of high quality designs, materials

    and processes in making Barbie Products

           23.   Additionally, Plaintiff owes a substantial amount of the success of the Barbie Products

    to its consumers and word-of-mouth buzz that its consumers have generated, including through

    events featuring Barbie Products, such as events at the Musée des Arts Décoratifs in Paris, France 6

    and at Mudec’s Museo delle Culture in Milan, Italy, 7 as well as meetups for fans.

           24.   The Barbie brand’s popularity extends even into the internet and social media, as, for

    example, the Barbie brand Instagram account, @barbiestyle, currently has over 1.9 million

    followers. 8 Additionally, the Barbie channel on YouTube has over 9 billion views, 9 Barbie brand’s

    collective social media followers numbers 17 million and Barbie is ranked as the number one toy

    brand in social conversation. Further, as of 2017, Barbie Apps have boasted 57 million lifetime

    downloads, an average of 150,000 daily users.

           25.   While the largest market for Barbie dolls is girls ages 3 to 11, there is also a large market

    of adult collectors. For example, the Barbie National Convention in the U.S. began in New York

    City in 1980 and Mattel estimates that there are eight million active collectors of Barbie dolls,

    primarily adults.

           26.   Plaintiff’s efforts, the quality of Plaintiff’s Barbie Products, and the word-of-mouth buzz

    generated by its consumers have made the Barbie Marks, Barbie Works and Barbie Products

    prominently placed in the minds of the public. The Barbie brand has achieved near universal

    recognition among the general consuming public in the U.S., and members of the public and retailers




6
  MUSÉE DES ARTS DÉCORATIFS, https://madparis.fr/en/about-us/exhibitions/recent-exhibitions/barbie/ (last visited Dec.
10, 2018).
7
  MUDEC MUSEO DELLE CULTURE, http://www.mudec.it/eng/barbie/ (last visited Dec. 10, 2018).
8
  @barbiestyle, Instagram (Nov. 30, 2018, 9:45 AM), https://www.instagram.com/barbiestyle/.
9
  Barbie, Barbie, YOUTUBE (Dec. 10, 2018), https://www.youtube.com/user/barbie.



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     have become familiar with Plaintiff’s Barbie Marks, Barbie Works and Barbie Products, and have

     come to associate them exclusively with Plaintiff.

          27.    As recently as 2010, research conducted by Mattel among more than 1,800 participants

     showed that awareness of the Barbie brand among U.S. girls ages 5 – 10 is as high as 98% and 99%

     among their mothers. Mattel has acquired a valuable reputation and goodwill among the public as

     a result of such association.

          28.    In addition, in 1991 the U.S. Court of Appeals for the Second Circuit recognized that

     Barbie is the best-selling toy doll in the world, 10 and in 1998, now-Justice Sonia Sotomayor wrote

     that “by any measure – the world-known BARBIE is a ‘famous’ trademark under the Federal Anti-

     Dilution Act.” 11

          29.    Plaintiff has gone to great lengths to protect its interests to the Barbie Products, Barbie

     Marks and Barbie Works. No one other than Plaintiff and its authorized licensees and distributors

     is authorized to manufacture, import, export, advertise, offer for sale, or sell any goods utilizing the

     Barbie Marks or Barbie Works without the express permission of Plaintiff.

                                   eBay and Defendants’ User Accounts

        30.        eBay.com is an online marketplace and e-commerce platform that allows

manufacturers and other third-party merchants, like Defendants, to advertise, distribute, offer for sale

and/or sell in what it characterizes as either auction-style or fixed-price formats and ship their retail

products originating from China, 12 among other locations, directly to consumers worldwide and

specifically those residing in the U.S., including New York (hereinafter, “eBay”).

        31.        A significant number of third-party merchants that have User Accounts with and


10
   Miss America Organization v. Mattel, Inc., 945 F.2d 536, 537 (2d Cir. 1991).
11
   Mattel, Inc. v. Jcom, Inc., 1998 U.S. Dist. LEXIS 16195, *9 (S.D.N.Y. Sep. 10, 1998).
12
   See Andy Geldman,                 The       World’s Top     eBay    Sellers, WEBRETAILER   (Sept.   18,   2017),
https://www.webretailer.com/lean-commerce/worlds-top-ebay-sellers/.



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operate Merchant Storefronts on eBay, like Defendants, are located in China. 13 Of the top third- party

merchants selling on eBay, 85% are based in China or Hong Kong. 14 Currently, eBay claims that it has

a base of 25 million third-party merchants and 168 million active buyers. 15 Over the past 20 years, eBay

has become one of the most popular e-commerce platforms in the world, currently placing it as the sixth

most popular website in the U.S. 16 At any given time, eBay contains some 100 million listings and

more than 6 million new listings are posted on it daily. 17

        32.         eBay aggressively uses the internet, including Facebook, Tumblr, Twitter and

Instagram, to market itself and the products offered for sale and/or sold by its third-party merchant users

to potential consumers, particularly those in the U.S. 18 For example, 10% of the traffic eBay sends

from its Facebook page to eBay.com converts into bids and/or purchases.

        33.         As recently addressed in news reports 19 and as reflected in the federal lawsuits filed

against third-party merchants offering for sale and selling infringing and/or counterfeit products on

eBay, 20 an astronomical number of counterfeit and infringing products are offered for sale and sold on

eBay at a rampant rate. 21 For example, a consumer watchdog organization found that eBay 22 accounts


13
   See id
14
   See id.
15
   See Michael Guta, There are 168 Million Active Buyers on eBay Right Now (INFOGRAPHIC), SMALL BUSINESS
TRENDS (Mar. 23, 2018), https://smallbiztrends.com/2018/03/ebay-statistics-march-2018.html.
16
   See id.
17
   See Tiffany (NJ) Inc. v. eBay Inc., 600 F.3d 93 (2d Cir. 2010).
18
   See Christopher Ratcliff, How eBay uses social media: Tumblr, Twitter and Instagram, ECONSULTANCY (Jan. 22, 2015),
https://econsultancy.com/blog/66000-how-ebay-uses-social-media-tumblr-twitter-and-instagram.
19
   See 10 WAYS IN WHICH EBAY IS DRIVING SALES THROUGH SOCIAL MEDIA, INTERNET OF THINGS EVENTS,
https://www.iotevents.org/10-ways-in-which-ebay-is-driving-sales-through-social-media/.
20
   See Andi         Sykes, Specialized         Wages Ware on              Counterfeiters (Dec. 9,         2016),
http://singletrackworld.com/2016/12/specialized-wages-war-on-counterfeiters/.
21
   See, e.g., Cartier Int'l A.G. v. Replicapaneraiwatches, 2018 U.S. Dist. LEXIS 8190, Case No. 17-62401-CIV-
MOORE/SNOW (S.D. Fla. Jan. 17, 2018); Gucci Am., Inc. v. BerryArt, 2016 U.S. Dist. LEXIS 190557, Case No. 16-
60771-CIV-WILLIAMS (S.D. Fla. May 12, 2016) and Michael Kors L.L.C. v. Alwaysmylove, 2016 U.S. Dist. LEXIS
190599, Case No. 16-CIV-60011-DIMITROULEAS/SNOW (S.D. Fla. Feb. 3, 2016).
22
   See Christina Warren, Ebay Is Finally Doing Something About Counterfeit Goods, GIZMODO (Jan. 12, 2017),
https://gizmodo.com/ebay-is-finally-doing-something-about-counterfeit-goods-1791138822; see also United States
Government Accountability Office, Report to the Chairman, Committee on Finance, U.S. Senate, Intellectual Property:
Agencies Can Improve Efforts to Address Risks Posed by Changing Counterfeits Market (2018) and eBay, Amazon



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for 61% of the 25 million counterfeit products that the organization has removed from various e-
                                                                                                   23
commerce platforms, including Amazon, Alibaba/AliExpress and Walmart.                                    eBay spends

approximately $5 million per year to attempt to alleviate its counterfeiting issues. 24

        34.         Defendants are individuals and/or businesses, who, upon information and belief, are

located in China but conduct business in the U.S. and other countries by means of their User Accounts

and Merchant Storefronts on eBay as well as potential yet undiscovered additional online marketplace

platforms.

        35.         Through their Merchant Storefronts, Defendants offer for sale and/or sell consumer

products, including Counterfeit Products, and target and ship such products to customers located in the

U.S., including New York, and throughout the world.

        36.         Defendants’ Merchant Storefronts share unique identifiers, such as design elements

along with similarities in price, description of the goods offered and of the Counterfeit Products

themselves offered for sale.

        37.         Defendants are in constant communication with each other and regularly participate

in online chatroom discussions involving illegal counterfeiting activities, pending litigation and

potential new lawsuits.

                               Defendants’ Wrongful and Infringing Conduct

        38.         Particularly in light of Plaintiff’s success with its Barbie Products, as well as the

reputation they have gained, Plaintiff and its Barbie Products have become targets for unscrupulous


Cracking Down on Counterfeit Goods Sold on their Sites, WSB Radio (Mar. 5, 2018),
https://www.wsbradio.com/video/local-video/ebay-amazon-cracking-down-counterfeit-goods-sold-their-
sites/wSlkAYC27NEnMp61rRpKaJ/ (discussing an undercover study by the United States Government Accountability
Office which found that nearly half of the products bought from third party sellers on Amazon and eBay were fake).
23
   See Ben Unglesbee, Can Amazon and its marketplace rivals fix their counterfeits problem?, RETAIL DIVE (April 9,
2018), https://www.retaildive.com/news/can-amazon-and-its-marketplace-rivals-fix-their-counterfeits- problem/520301/; see
also THE COUNTERFEIT REPORT, https://www.thecounterfeitreport.com/.
24
   See Declan McCullagh, eBay wins counterfeit-sales suit filed by Tiffany, CNET (July 15, 2008),
https://www.cnet.com/news/ebay-wins-counterfeit-sales-suit-filed-by-tiffany.



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individuals and entities who wish to capitalize on the goodwill, reputation and fame that Plaintiff has

amassed in its Barbie Products, Barbie Marks and the works embodied in the Barbie Works and Plaintiff

investigates and enforces against such activities..

        39.       As part of these efforts, Plaintiff retained New Alchemy Limited (“NAL”), a company

that provides trademark infringement research services, to investigate and research manufacturers,

wholesalers, retailers and/or other merchants offering for sale and/or selling Counterfeit Products on

eBay.

        40.       Through NAL’s investigative and enforcement efforts, Plaintiff learned of

Defendants’ actions which vary and include, but are not limited to: manufacturing, importing,

exporting, advertising, marketing, promoting, distributing, displaying, offering for sale and/or selling

products bearing or used in connection with the Barbie Marks and/or Barbie Works, and/or products in

packaging and/or containing labels bearing the Barbie Marks and/or Barbie Works, and/or bearing or

used in connection with marks and/or artwork that are confusingly or substantially similar to the Barbie

Marks and/or Barbie Works and/or products that are identical or confusingly or substantially similar to

the Barbie Products (collectively referred to as, “Infringing Product(s)” or “Counterfeit Product(s)”) to

U.S. consumers, including those located in the state of New York, through Defendants’ User Accounts

and Merchant Storefronts. Printouts of listings for Counterfeit Products from Defendants’ User

Accounts and Merchant Storefronts are included in Exhibit C attached hereto and incorporated herein

by reference.

        41.       Defendants are not, and have never been, authorized by Plaintiff or any of its

authorized agents, authorized licensees or authorized distributors to copy, manufacture, import, export,

advertise, distribute, offer for sale or sell the Barbie Products or to use the Barbie Marks and Barbie

Works, or any marks or artwork that are confusingly or substantially similar to the Barbie Marks or




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Barbie Works.

       42.        Defendants’ Counterfeit Products are nearly indistinguishable from Plaintiff’s Barbie

Products, only with minor variations that no ordinary consumer would recognize.

       43.        During its investigation, NAL identified Defendants as offering for sale and/or selling

Counterfeit Products and specified a shipping address located in New York (“the New York Address”)

and verified that each Defendant provides shipping to the New York Address. Printouts of the checkout

pages for the Counterfeit Products and pages from Defendants’ Merchant Storefronts reflecting that the

Defendants ship the Counterfeit Products to the New York Address are included in Exhibit C attached

hereto and incorporated herein by reference.

       44.        NAL confirmed that each Defendant was and/or is still currently offering for sale

and/or selling Counterfeit Products through their respective Merchant Storefronts, accepting payment

for such Counterfeit Products in U.S. Dollars through eBay’s own payment processing services (“eBay

Payment System”), or through accounts with the payment processing agency PayPal, Inc. (“PayPal”),

and that each Defendant provides shipping and/or has actually shipped Counterfeit Products to the U.S.,

including to customers located in New York. NAL’s findings are supported by Defendants’ listings for

Counterfeit Products and/or the checkout pages for the Counterfeit Products, which are included in

Exhibit C attached hereto and incorporated herein by reference.

       45.        For example, below on the left is an image of one of Plaintiff’s Barbie Products, which

typically retails for $10.99. Depicted further below is a listing for Defendant alexstore888’s Counterfeit

Product (“alexstore888 Infringing Listing” and “alexstore888Counterfeit Product,” respectively). The

alexstore888 Infringing Listing appears on Defendant alexstore888’s Merchant Storefront,

https://www.ebay.com/itm/NEW-Barbie-Dancing-Childrens-Wrist-Watch-Purse-Wallet-Set-For-

Kids-Boys-Girls/161819616264, and offers the alexstore888 Counterfeit Product for $4.95 per item,




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      using, featuring and/or incorporating one or more of the Barbie Marks, the Barbie Works, and/or

      confusingly or substantially similar marks or artwork in the listing title “NEW Barbie Dancing

      Children’s Wrist Watch Purse Waller Set For Kids Boys Girls” (emphasis added) and in the

      descriptions and/or product images in the body of the listing. Further, the alexstore888 Counterfeit

      Product is virtually identical to one of Plaintiff’s Barbie Products and features and/or incorporates one

      or more of the Barbie Works and Barbie Marks. There is no question that the 276470 Counterfeit

      Product is designed to confuse and mislead consumers into believing that they are purchasing one of

      Plaintiff’s Barbie Products or that the alexstore888 Counterfeit Product is otherwise approved by or

      sourced from Plaintiff, thereby trading off of the goodwill and reputation of Plaintiff by engaging in

      the unauthorized use of the Barbie Works and Barbie Marks:


                     Barbie Product                                    alexstore888 Infringing Listing




46.     By way of another example, below on the left is an image of one of Plaintiff’s Barbie Products,

        which typically retails for $14.99.         Depicted further below is a listing for Defendant

        fashionjewlery20136’s     Counterfeit    Product    (“fashionjewlery20136Infringing     Listing”   and



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“fashionjewlery20136 Counterfeit Product,” respectively). The fashionjewlery20136 Infringing

Listing       appears      on   Defendant      fashionjewlery20136’s        Merchant      Storefront,

https://www.ebay.com/itm/5-Pairs-Spring-Fall-Cartoon-Socks-Children-Girls-Barbie-Pattern-

Hosiery-CN036/281886352349, and offers the fashionjewlery20136Counterfeit Product for $15.99

per item, using, featuring and/or incorporating one or more of the Barbie Marks, the Barbie Works,

and/or confusingly or substantially similar marks or artwork in the listing title “5 Pairs Spring Fall

Cartoon Socks Children Girls Barbie Pattern Hosiery CN036” (emphasis added) and in the

descriptions and/or product images in the body of the listing. Further, the fashionjewlery20136

Counterfeit Product is virtually identical to one of Plaintiff’s Barbie Products and features and/or

incorporates one or more of the Barbie Works and Barbie Marks. There is no question that the

fashionjewlery20136 Counterfeit Product is designed to confuse and mislead consumers into

believing that they are purchasing one of Plaintiff’s Barbie Products or that the

fashionjewlery20136Counterfeit Product is otherwise approved by or sourced from Plaintiff, thereby

trading off of the goodwill and reputation of Plaintiff by engaging in the unauthorized use of the

Barbie Works and Barbie Marks:

          Barbie Product                                fashionjewlery20136 Infringing Listing




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47.   As another example, below on the left is an image of one of Plaintiff’s Barbie Products, which

      typically retails for $20.00. Depicted further below is a listing for Defendant ilante’s Counterfeit

      Product (“ilante Infringing Listing” and “ilante Counterfeit Product,” respectively). The ilante

      Infringing     Listing      appears      on      Defendant       ilante’s     Merchant       Storefront,

      https://www.ebay.com/itm/barbie-doll-face-Hard-Phone-Cover-Case-for-huawei-P8-P9-P10-

      Lite/222972214884, and offers the ilante Counterfeit Product for $2.98 per item, using, featuring

      and/or incorporating one or more of the Barbie Marks, the Barbie Works, and/or confusingly or

      substantially similar marks or artwork in the listing title “barbie doll face Hard Phone Cover Case

      for Huawei P8 P9 P10 Lite” (emphasis added) and in the descriptions and/or product images in the

      body of the listing. Further, the ilante Counterfeit Product is virtually identical to one of Plaintiff’s

      Barbie Products and features and/or incorporates one or more of the Barbie Works and Barbie Marks.

      There is no question that the ilante Counterfeit Product is designed to confuse and mislead consumers

      into believing that they are purchasing one of Plaintiff’s Barbie Products or that the ilante Counterfeit

      Product is otherwise approved by or sourced from Plaintiff, thereby trading off of the goodwill and

      reputation of Plaintiff by engaging in the unauthorized use of the Barbie Works and Barbie Marks:

            Barbie Product                                                 ilante Infringing Listing




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        48.     By these dealings in Counterfeit Products (including, without limitation, copying,

manufacturing, importing, exporting, advertising, marketing, promoting, distributing, displaying,

offering for sale and/or selling Counterfeit Products), Defendants violated Plaintiff’s exclusive rights

in the Barbie Marks and Barbie Works, and have used marks, images and artwork that are

confusingly and/or substantially similar to, identical to and/or constitute counterfeiting and/or

infringement of the Barbie Marks and Barbie Works in order to confuse consumers into believing

that such Counterfeit Products are Barbie Products and aid in the promotion and sales of their

Counterfeit Products. Defendants’ conduct began long after Plaintiff’s adoption and use of the

Barbie Marks and Barbie Works, after Plaintiff obtained the federal registrations in the Barbie Marks

and Barbie Works, as alleged above, and after Plaintiff’s Barbie Products, Barbie Marks and Barbie

Works became well-known to the purchasing public.

        49.     Prior to and contemporaneous with their counterfeiting and infringing actions alleged

herein, Defendants had knowledge of Plaintiff’s ownership of the Barbie Marks and Barbie Works,

of the fame and incalculable goodwill associated therewith and of the popularity and success of the

Barbie Products, and in bad faith adopted the Barbie Marks and Barbie Works.

        50.     Defendants have been engaging in the illegal counterfeiting and infringing actions, as

alleged herein, knowingly and intentionally, or with reckless disregard or willful blindness to

Plaintiff’s rights, or in bad faith, for the purpose of trading on the goodwill and reputation of Plaintiff,

the Barbie Marks, Barbie Works and Barbie Products.

        51.     Defendants’ dealings in Counterfeit Products, as alleged herein, has caused, and will

continue to cause confusion, mistake, economic loss, and has, and will continue to deceive

consumers, the public and the trade with respect to the source or origin of Defendants’ Counterfeit

Products, thereby causing consumers to erroneously believe that such Counterfeit Products are




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licensed by or otherwise associated with Plaintiff, thereby damaging Plaintiff.

       52.        By engaging in these actions, Defendants have, jointly and severally, among other

things, willfully and in bad faith committed the following, all of which have and will continue to

cause irreparable harm to Plaintiff: infringed and counterfeited the Barbie Marks, infringed the

Barbie Works, committed unfair competition and unfairly and unjustly profited from such activities

at Plaintiff’s expense.

       53.        Unless enjoined, Defendants will continue to cause irreparable harm to Plaintiff.

                                             CAUSES OF ACTION
                                     FIRST CAUSE OF ACTION
              (Trademark Counterfeiting Under Sections 32, 34, and 35 of the Lanham Act, 15
                            U.S.C. §§ 1114(1)(b), 1116(d), and 1117(b)-(c)))

        54.            Plaintiff repleads and incorporates by reference each and every allegation set

forth in the preceding paragraphs as if fully set forth herein.

        55.            Plaintiff is the exclusive owner of all right and title to the Barbie Marks.

        56.            Plaintiff has continuously used the Barbie Marks in interstate commerce since

on or before the dates of first use as reflected in the registrations attached hereto as Exhibit A.

        57.            Without Plaintiff’s authorization or consent, with knowledge of Plaintiff’s well-

known and prior rights in its Barbie Marks and with knowledge that Defendants’ Counterfeit

Products bear counterfeit marks, Defendants intentionally reproduced, copied and/or colorably

imitated the Barbie Marks and/or used spurious designations that are identical with, or substantially

indistinguishable from, the Barbie Marks on or in connection with the manufacturing, import, export,

advertising, marketing, promotion, distribution, display, offering for sale and/or sale of Counterfeit

Products.

        58.            Defendants have manufactured, imported, exported, advertised, marketed,

promoted, distributed, displayed, offered for sale and/or sold their Counterfeit Products to the



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purchasing public in direct competition with Plaintiff, in or affecting interstate commerce, and/or

have acted with reckless disregard of Plaintiff’s rights in and to the Barbie Marks through their

participation in such activities.

        59.          Defendants have applied their reproductions, counterfeits, copies and colorable

imitations of the Barbie Marks to packaging, point-of-purchase materials, promotions and/or

advertisements intended to be used in commerce upon, or in connection with the manufacturing,

importing, exporting, advertising, marketing, promoting, distributing, displaying, offering for sale

and/or selling of Defendants’ Counterfeit Products, which is likely to cause confusion, mistake, and

deception among the general purchasing public as to the origin of the Counterfeit Products, and is

likely to deceive consumers, the public and the trade into believing that the Counterfeit Products sold

by Defendants originate from, are associated with or are otherwise authorized by Plaintiff, thereby

making substantial profits and gains to which they are not entitled in law or equity.

        60.          Defendants’ unauthorized use of the Barbie Marks on or in connection with the

Counterfeit Products was done with notice and full knowledge that such use was not authorized or

licensed by Plaintiff or its authorized agents and with deliberate intent to unfairly benefit from the

incalculable goodwill inherent in the Barbie Marks.

        61.          Defendants’ actions constitute willful counterfeiting of the Barbie Marks in

violation of 15 U.S.C. §§ 1114(1)(a)-(b), 1116(d) and 1117(b)-(c).

        62.          As a direct and proximate result of Defendants’ illegal actions alleged herein,

Defendants have caused substantial monetary loss and irreparable injury and damage to Plaintiff, its

business, its reputation and its valuable rights in and to the Barbie Marks and the goodwill associated

therewith, in an amount as yet unknown, but to be determined at trial, for which Plaintiff has no




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adequate remedy at law, and unless immediately enjoined, Defendants will continue to cause such

substantial and irreparable injury, loss and damage to Plaintiff and its valuable Barbie Marks.

        63.     Based on Defendants’ actions as alleged herein, Plaintiff is entitled to injunctive

relief, damages for the irreparable harm that Plaintiff has sustained, and will sustain, as a result of

Defendants’ unlawful and infringing actions, as alleged herein, and all gains, profits and advantages

obtained by Defendants as a result thereof, enhanced discretionary damages, treble damages and/or

statutory damages of up to $2,000,000 per counterfeit mark per type of goods sold, offered for sale

or distributed and reasonable attorneys’ fees and costs.

                                 SECOND CAUSE OF ACTION
                            (Infringement of Registered Trademarks)
                             [115 U.S.C. § 1114/Lanham Act § 32(a)]

         64.         Plaintiff repleads and incorporates by reference each and every allegation set

forth in the preceding paragraphs as if fully set forth herein.

         65.         Plaintiff has continuously used the Barbie Marks in interstate commerce since

on or before the dates of first use as reflected in the registration certificates attached hereto as Exhibit

A.

         66.         Plaintiff, as owner of all right, title and interest in and to the Barbie Marks, has

standing to maintain an action for trademark infringement under 15 U.S.C. § 1114.

         67.         Defendants were, at the time they engaged in their actions as alleged herein,

actually aware that Plaintiff is the owner of the federal trademark registrations for the Barbie Marks.

         68.         Defendants did not seek and thus inherently failed to obtain consent or

authorization from Plaintiff, as the registered trademark owner of the Barbie Marks, to deal in and

commercially manufacture, import, export, advertise, market, promote, distribute, display, retail,

offer for sale and/or sell Barbie Products and/or related products bearing the Barbie Marks into the




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stream of commerce.

         69.        Defendants knowingly and intentionally manufactured, imported, exported,

advertised, marketed, promoted, distributed, displayed, offered for sale and/or sold Counterfeit

Products, bearing and/or utilizing marks that are reproductions, counterfeits, copies and/or colorable

imitations of the Barbie Marks and/or which are identical or confusingly similar to the Barbie Marks.

         70.        Defendants knowingly and intentionally reproduced, copied and colorably

imitated the Barbie Marks and applied such reproductions, copies or colorable imitations to

packaging, wrappers, receptacles, online listings and/or advertisements used in commerce upon, or

in connection with the manufacturing, importing, exporting, advertising, marketing, promoting,

distributing, displaying, offering for sale and/or sale of Defendants’ Counterfeit Products.

         71.        Defendants were, at the time they engaged in their illegal and infringing actions

as alleged herein, actually aware that Plaintiff is the owner of all rights in and to the Barbie Marks.

         72.        Defendants’ egregious and intentional use of the Barbie Marks in commerce on

or in connection with Defendants’ Counterfeit Products has caused, and is likely to continue to cause,

actual confusion and mistake, and has deceived, and is likely to continue to deceive, the general

purchasing public as to the source or origin of the Counterfeit Products, and is likely to deceive the

public into believing that Defendants’ Counterfeit Products are Plaintiff’s Barbie Products or are

otherwise associated with, or authorized by, Plaintiff.

         73.        Defendants’ actions have been deliberate and committed with knowledge of

Plaintiff’s rights and goodwill in the Barbie Marks, as well as with bad faith and the intent to cause

confusion, mistake and deception.

         74.        Defendants’ continued, knowing, and intentional use of the Barbie Marks

without Plaintiff’s consent or authorization constitutes intentional infringement of Plaintiff’s




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federally registered Barbie Marks in violation of §32 of the Lanham Act, 15 U.S.C. § 1114.

         75.         As a direct and proximate result of Defendants’ illegal and infringing actions as

alleged herein, Plaintiff has suffered substantial monetary loss and irreparable injury, loss and

damage to its business and its valuable rights in and to the Barbie Marks and the goodwill associated

therewith in an amount as yet unknown, but to be determined at trial, for which Plaintiff has no

adequate remedy at law, and unless immediately enjoined, Defendants will continue to cause such

substantial and irreparable injury, loss and damage to Plaintiff and the valuable Barbie Marks.

         76.   Based on Defendants’ actions as alleged herein, Plaintiff is entitled to injunctive

relief, damages for the irreparable harm that Plaintiff has sustained, and will sustain, as a result of

Defendants’ unlawful and infringing actions as alleged herein, and all gains, profits and advantages

obtained by Defendants as a result thereof, enhanced discretionary damages, as well as other

remedies provided by 15 U.S.C. §§ 1116, 1117, and 1118, and reasonable attorneys’ fees and costs.

                                     THIRD CAUSE OF ACTION
                    (False Designation of Origin, Passing Off & Unfair Competition) [15 U.S.C.
                                          § 1125(a)/Lanham Act § 43(a)]

         77.         Plaintiff repleads and incorporates by reference each and every allegation set

forth in the preceding paragraphs as if fully set forth herein.

         78.         Plaintiff, as the owner of all right, title and interest in and to the Barbie Marks

has standing to maintain an action for false designation of origin and unfair competition under the

Federal Trademark Statute, Lanham Act § 43(a) (15 U.S.C. § 1125).

         79.         The Barbie Marks are inherently distinctive and/or have acquired

distinctiveness.

         80.         Defendants knowingly and willfully used in commerce products and/or

packaging designs that are identical or confusingly or substantially similar to, and constitute




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reproductions of the Barbie Marks and Barbie Works and affixed, applied and used false designations

of origin and false and misleading descriptions and representations on or in connection with the

manufacturing, importing, exporting, advertising, marketing, promoting, distributing, displaying,

offering for sale and/or sale of Counterfeit Products with the intent to cause confusion, to cause

mistake and to deceive the purchasing public into believing, in error, that Defendants’ substandard

Counterfeit Products are Barbie Products or related products, and/or that Defendants’ Counterfeit

Products are authorized, sponsored, approved, endorsed or licensed by Plaintiff and/or that

Defendants are affiliated, connected or associated with Plaintiff, thereby creating a likelihood of

confusion by consumers as to the source of such Counterfeit Products, and allowing Defendants to

capitalize on the goodwill associated with, and the consumer recognition of, the Barbie Marks and

Barbie Works, to Defendants’ substantial profit in blatant disregard of Plaintiff’s rights.

         81.         By manufacturing, importing, exporting, advertising, marketing, promoting,

distributing, displaying, offering for sale, selling and/or otherwise dealing in the Counterfeit Products

that are identical to, confusingly similar to or which constitute colorable imitations of Plaintiff’s

Barbie Products using marks and/or artwork that is identical and/or confusingly or substantially

similar to, or which constitute colorable imitations of the Barbie Marks and Barbie Works,

Defendants have traded off the extensive goodwill of Plaintiff and its Barbie Products and did in fact

induce, and intend to, and will continue to induce customers to purchase Defendants’ Counterfeit

Products, thereby directly and unfairly competing with Plaintiff. Such conduct has permitted and

will continue to permit Defendants to make substantial sales and profits based on the goodwill and

reputation of Plaintiff and its Barbie Marks, which Plaintiff has amassed through its nationwide

marketing, advertising, sales and consumer recognition.

         82.         Defendants knew, or by the exercise of reasonable care should have known, that




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their adoption and commencement of and continuing use in commerce of marks and artwork that are

identical or confusingly or substantially similar to and constitute reproductions of the Barbie Marks

and Barbie Works would cause confusion, mistake or deception among purchasers, users and the

public.

          83.       Upon information and belief, Defendants’ aforementioned wrongful actions

have been knowing, deliberate, willful, intended to cause confusion, to cause mistake and to deceive

the purchasing public and with the intent to trade on the goodwill and reputation Plaintiff, its Barbie

Products, Barbie Marks and Barbie Works.

          84.       As a direct and proximate result of Defendants’ aforementioned actions,

Defendants have caused irreparable injury to Plaintiff by depriving Plaintiff of sales of its Barbie

Products and by depriving Plaintiff of the value of its Barbie Marks and Barbie Works as commercial

assets in an amount as yet unknown, but to be determined at trial, for which it has no adequate remedy

at law, and unless immediately restrained, Defendants will continue to cause substantial and

irreparable injury to Plaintiff and the goodwill and reputation associated with the value of Barbie

Marks and Barbie Works.

          85.   Based on Defendants’ wrongful conduct, Plaintiff is entitled to injunctive relief as

well as monetary damages and other remedies as provided by the Lanham Act, including damages

that Plaintiff has sustained and will sustain as a result of Defendants’ illegal and infringing actions

as alleged herein, and all gains, profits and advantages obtained by Defendants as a result thereof,

enhanced discretionary damages and reasonable attorneys' fees and costs.

                                    FOURTH CAUSE OF ACTION
                                   (Federal Copyright Infringement)
                                          [17 U.S.C. § 501(a)]

          86.       Plaintiff repleads and incorporates by reference each and every allegation set




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forth in the preceding paragraphs as if fully set forth herein.

         87.         Plaintiff is the exclusive owner of the Barbie Works.

         88.         Defendants had actual notice of Plaintiff’s exclusive rights in and to the Barbie

Works.

         89.         Defendants did not attempt and therefore inherently failed to obtain Plaintiff’s

consent or authorization to use, manufacture, reproduce, copy, display, prepare derivative works of,

distribute, sell, transfer, rent, perform and/or market Plaintiff’s Barbie Products and/or Barbie

Works.

         90.         Without permission, Defendants knowingly and intentionally reproduced,

copied, and displayed the Barbie Works by manufacturing, importing, exporting, advertising,

marketing, promoting, distributing, displaying, offering for sale and/or selling Infringing Products

which bear such Barbie Works, or artwork that is, at a minimum, substantially similar to the Barbie

Works.

         91.         Defendants’ unlawful and willful actions as alleged herein constitute

infringement of the Barbie Works, including Plaintiff’s exclusive rights to reproduce, distribute

and/or sell such Barbie Works in violation of 17 U.S.C. § 501(a).

         92.         Defendants’ knowing and intentional copyright infringement, as alleged herein,

has caused substantial and irreparable harm to Plaintiff in an amount as yet unknown but to be proven

at trial, for which Plaintiff has no adequate remedy at law, and unless enjoined, Defendants will

continue to cause, substantial and irreparable harm to Plaintiff.

         93.    Based on Defendants’ wrongful conduct, Plaintiff is entitled to injunctive relief,

Plaintiff’s actual damages and Defendants’ profits in an amount to be proven at trial and enhanced

discretionary damages for willful copyright infringement, and reasonable attorneys’ fees and costs.




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                                     FIFTH CAUSE OF ACTION
                          (Violation of Deceptive Acts and Practices Unlawful) [N.Y. Gen. Bus.
                                                       Law § 349]

         94.         Plaintiff repleads and incorporates by reference each and every allegation set

forth in the preceding paragraphs as if fully set forth herein.

         95.         Through Defendants’ unlawful, unauthorized and unlicensed use of the Barbie

Works and/or Barbie Marks on or in connection with the manufacturing, importing, exporting,

advertising, marketing, promoting, distributing, displaying, offering for sale, selling and/or otherwise

dealing in Counterfeit Products which are identical and/or confusingly or substantially similar to

Plaintiff’s Barbie Products, Defendants have engaged in consumer-oriented conduct that has

adversely affected the public interest and has resulted in injury to consumers in New York.

         96.         Defendants’ aforementioned conduct was and is a willful and deliberate attempt

to mislead consumers and constitutes the use of deceptive acts or practices in the conduct of business,

trade or commerce. Such conduct has deceived and materially mislead or has a tendency to deceive

and materially mislead the consuming public, and has injured and will continue to injure Plaintiff’s

business, reputation and goodwill in violation of N.Y. Gen. Bus. Law § 349.

         97.         As a result of Defendants’ actions alleged herein, Plaintiff has suffered and will

continue to suffer irreparable harm for which it has no adequate remedy at law.

         98.   Pursuant to N.Y. Gen. Bus. Law § 349(h), Plaintiff is entitled to enjoin Defendants’

unlawful conduct as well as obtain damages in an amount to be determined at trial, costs,

disbursements and attorneys’ fees.

                                      SIXTH CAUSE OF ACTION
                                       (False Advertising Unlawful) [N.Y. Gen. Bus. Law § 350]

         99.         Plaintiff repleads and incorporates by reference each and every allegation set

forth in the preceding paragraphs as if fully set forth herein.



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         100.        Without the authorization of Plaintiff, Defendants have used the Barbie Marks

and/or Barbie Works and/or marks and/or artwork and/or packaging designs that are identical and/or

confusingly or substantially similar to the Barbie Marks and/or Barbie Works in connection with the

advertising, marketing, promoting, distributing, displaying, offering for sale, selling and/or otherwise

dealing in the Counterfeit Products which are identical and/or confusingly or substantially similar to

Plaintiff’s Barbie Products, causing confusion, mistake and deceiving consumers and the public as

to the source, origin, sponsorship or quality of Defendants’ Counterfeit Products.

         101.        Defendants’ aforementioned willful and intentional conduct constitutes false

advertising in the conduct of any business, trade or commerce and has injured and will continue to

injure Plaintiff’s business, reputation and goodwill in violation of N.Y. Gen. Bus. Law § 350.

         102.        As a result of Defendants’ actions alleged herein, Plaintiff has suffered and will

continue to suffer irreparable harm for which it has no adequate remedy at law.

         103.   Pursuant to N.Y. Gen. Bus. Law § 350(e), Plaintiff is entitled to enjoin Defendants’

unlawful conduct as well as obtain damages in an amount to be determined at trial, costs,

disbursements and attorneys’ fees.

                                     SEVENTH CAUSE OF ACTION
                                          (Unfair Competition) [New York Common Law]

         104.        Plaintiff repleads and incorporates by reference each and every allegation set

forth in the preceding paragraphs as if fully set forth herein.

         105.        By manufacturing, importing, exporting, advertising, marketing, promoting,

distributing, displaying, offering for sale, selling and/or otherwise dealing in the Counterfeit

Products, Defendants have traded off the extensive goodwill of Plaintiff and its Barbie Products to

induce, and did induce and intend and will continue to induce, customers to purchase their

Counterfeit Products, thereby directly competing with Plaintiff. Such conduct has permitted and will



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continue to permit Defendants to make substantial sales and profits based on the goodwill and

reputation of Plaintiff, which Plaintiff has amassed through its nationwide marketing, advertising,

sales and consumer recognition.

         106.       Defendants’ advertising, marketing, promoting, distributing, displaying,

offering for sale, selling and/or otherwise dealing in the Counterfeit Products was and is in violation

and derogation of Plaintiff’s rights and is likely to cause confusion and mistake, and to deceive

consumers and the public as to the source, origin, sponsorship or quality of Defendants’ Counterfeit

Products.

         107.       Defendants knew, or by the exercise of reasonable care should have known, that

their advertising, marketing, promoting, distributing, displaying, offering for sale, selling and/or

otherwise dealing in the Counterfeit Products and their continuing advertising, marketing,

promoting, distributing, displaying, offering for sale, selling and/or otherwise dealing in the

Counterfeit Products would cause confusion and mistake, or deceive purchasers, users and the public.

         108.       Upon information and belief, Defendants’ aforementioned wrongful actions

have been knowing, deliberate, willful, intended to cause confusion and mistake, and to deceive, in

blatant disregard of Plaintiff’s rights, and for the wrongful purpose of injuring Plaintiff, and its

competitive position while benefiting Defendants.

         109.       As a direct and proximate result of Defendants’ aforementioned wrongful

actions, Plaintiff has been and will continue to be deprived of substantial sales of its Barbie Products

in an amount as yet unknown but to be determined at trial, for which Plaintiff has no adequate remedy

at law, and Plaintiff has been and will continue to be deprived of the value of its Barbie Marks and

Barbie Works as commercial assets in an amount as yet unknown but to be determined at trial, for

which Plaintiff has no adequate remedy at law.




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         110.   As a result of Defendants’ actions alleged herein, Plaintiff is entitled to injunctive

relief, an order granting Plaintiff’s damages and Defendants’ profits stemming from their infringing

activities, and exemplary or punitive damages for Defendants’ intentional misconduct.

                                        EIGHTH CAUSE OF ACTION
                                             (Unjust Enrichment) [New York Common Law]

         111.         Plaintiff repleads and incorporates by reference each and every allegation set

forth in the preceding paragraphs as if fully set forth herein.

         112.         By virtue of the egregious and illegal acts of Defendants as described herein,

Defendants have been unjustly enriched in an amount to be proven at trial.

         113.   Defendants’ retention of monies gained through their deceptive business practices,

infringement, acts of deceit and otherwise would serve to unjustly enrich Defendants and would be

contrary to the interests of justice.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment against Defendants, inclusive, and each of

them, as follows:

        A.      For an award of Defendants’ profits and Plaintiff’s damages pursuant to 15 U.S.C. §

        1117(a), enhanced discretionary damages under 15 U.S.C. § 1117(a)(3) and treble damages

        in the amount of a sum equal to three (3) times such profits or damages, whichever is greater,

        pursuant to 15 U.S.C. § 1117(b) for willfully and intentionally using a mark or designation,

        knowing such mark or designation is a counterfeit mark in violation of 15 U.S.C. §

        1114(1)(a);

        B.      In the alternative to Defendants’ profits and Plaintiff’s actual damages, enhanced

        discretionary damages and treble damages for willful use of a counterfeit mark in connection

        with the sale, offering for sale or distribution of goods or services, for statutory damages



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pursuant to 15 U.S.C. § 1117(c) in the amount of not more than $2,000,000 per counterfeit

mark per type of goods or services sold, offered for sale or distributed, as the Court considers

just, which Plaintiff may elect prior to the rendering of final judgment;

C.       For an award of Defendants’ profits and Plaintiff’s damages in an amount to be

proven at trial for willful trademark infringement of Plaintiff’s federally registered Barbie

Marks, and such other compensatory damages as the Court determines to be fair and

appropriate pursuant to 15 U.S.C. § 1117(a);

D.       For an award of Defendants’ profits and Plaintiff’s damages pursuant to 15 U.S.C. §

1117(a) in an amount to be proven at trial and such other compensatory damages as the Court

determines to be fair and appropriate pursuant to 15 U.S.C. § 1117(a) for false designation

of origin and unfair competition under 15 U.S.C. §1125(a);

E.       For an award of Plaintiff’s actual damages and Defendants’ profits, pursuant to 17

U.S.C. § 504(b), in an amount to be proven at trial for willful copyright infringement of the

Barbie Works under 17 U.S.C. § 501(a);

F.       In the alternative to Plaintiff’s actual damages and Defendants’ profits for copyright

infringement of the Barbie Works pursuant to 17 U.S.C. § 504(b), for statutory damages of

up to $150,000 per infringement pursuant to 17 USC § 504(c) for willful copyright

infringement, which Plaintiff may elect prior to the rendering of final judgment

G.       For an award of damages in an amount to be proven at trial for deceptive acts and

practices unlawful pursuant to N.Y. Gen. Bus. Law. § 349(h);

H.       For an award of damages to be proven at trial for false advertising pursuant to N.Y.

Gen. Bus. Law. § 350(e);

I.       For an award of damages to be proven at trial for common law unfair competition;




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J.     For an award of damages in an amount to be proven at trial for unjust enrichment;

K.     For a preliminary and permanent injunction by this Court enjoining and prohibiting

Defendants, or their agents, and any employees, agents, servants, officers, representatives,

directors, attorneys, successors, affiliates, assigns and entities owned or controlled by

Defendants, and all those in active concert or participation with Defendants, and each of them

who receives notice directly or otherwise of such injunction from:

            i. manufacturing, importing, exporting, advertising, marketing, promoting,

               distributing, displaying, offering for sale, selling and/or otherwise dealing in

               the Infringing and/or Counterfeit Products;

           ii. directly or indirectly infringing in any manner any of Plaintiff’s trademarks,

               copyrights or other rights (whether now in existence or hereafter created)

               including, without limitation, the Barbie Marks and Barbie Works;

          iii. using any reproduction, counterfeit, copy or colorable imitation of Plaintiff’s

               trademarks, copyrights or other rights (whether now in existence or hereafter

               created) including, without limitation, the Barbie Marks and Barbie Works, to

               identify any goods or services not authorized by Plaintiff;

          iv. using any of Plaintiff’s trademarks, copyrights or other rights (whether now

               in existence or hereafter created) including, without limitation, the Barbie

               Marks or Barbie Works, or any other marks or artwork that are confusingly or

               substantially similar to the Barbie Marks or Barbie Works, on or in connection

               with   Defendants’    manufacturing,     importing,   exporting,   advertising,

               marketing, promoting, distributing, displaying, offering for sale, selling

               and/or otherwise dealing in the Counterfeit Products;




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        v.    using any false designation of origin or false description, or engaging in any

              action which is likely to cause confusion, cause mistake and/or to deceive

              members of the trade and/or the public as to the affiliation, connection or

              association of any product manufactured, imported, exported, advertised,

              marketed, promoted, distributed, displayed, offered for sale or sold by

              Defendants with Plaintiff, and/or as to the origin, sponsorship or approval of

              any product manufactured, imported, exported, advertised, marketed,

              promoted, distributed, displayed, offered for sale or sold by Defendants and

              Defendants’ commercial activities by Plaintiff;

        vi. engaging in the unlawful, unfair or fraudulent business acts or practices,

              including, without limitation, the actions described herein, including the of

              advertising and/or dealing in any Counterfeit Products;

       vii. engaging in any other actions that constitute unfair competition with Plaintiff;

      viii.   engaging in any other act in derogation of Plaintiff’s rights;

        ix. secreting, destroying, altering, removing or otherwise dealing with the

              Counterfeit Products or any books or records that contain any information

              relating to manufacturing, importing, exporting, advertising, marketing,

              promoting, distributing, displaying, offering for sale, selling and/or otherwise

              dealing in the Counterfeit Products;

         x. from secreting, concealing, destroying, altering, selling off, transferring or

              otherwise disposing of and/or dealing with: (i) Counterfeit Products; (ii) any

              computer files, data, business records, documents or any other records or

              evidence relating to Defendants’ User Accounts or Merchant Storefronts, any




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                 money, securities or other property or assets of Defendants (whether said

                 assets are located in the U.S. or abroad) (“Defendants’ Assets”) from or to

                 accounts associated with or utilized by any Defendant or any Defendant’s

                 User Accounts or Merchant Storefronts (whether said account is located in the

                 U.S. or abroad) (“Defendants’ Financial Accounts”) and the manufacture,

                 importation, exportation, advertising, marketing, promotion, distribution,

                 display, offering for sale and/or sale of Counterfeit Products;

           xi. from secreting, concealing, transferring, disposing of, withdrawing,

                 encumbering or paying any of Defendants’ Assets from or Defendants’

                 Financial Accounts until further ordered by this Court;

          xii. effecting assignments or transfers, forming new entities or associations, or

                 utilizing any other device for the purpose of circumventing or otherwise

                 avoiding the prohibitions set forth in any Final Judgment or Order in this

                 action;

         xiii.   providing services to Defendants, Defendants’ User Accounts and

                 Defendants’ Merchant Storefronts, including, without limitation, continued

                 operation of Defendants’ User Accounts and Merchant Storefronts; and

         xiv. instructing, assisting, aiding or abetting any other person or entity in engaging

                 in or performing any of the activities referred to in subparagraphs

                 (i) through (xiii) above; and

L.     For an order of the Court requiring that Defendants recall from any distributors and

retailers and deliver up to Plaintiff for destruction any and all Infringing and/or Counterfeit

Products and any and all packaging, labels, tags, advertising and promotional materials and




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any other materials in the possession, custody or control of such distributors and retailers that

infringe any of Plaintiff’s trademarks, copyrights or other rights including, without limitation,

the Barbie Marks or Barbie Works, or bear any marks that are confusingly or substantially

similar to the Barbie Marks or Barbie Works;

M.       For an order of the Court requiring that Defendants deliver up for destruction to

Plaintiff any and all Infringing and/or Counterfeit Products and any and all packaging, labels,

tags, advertising and promotional materials and any other materials in the possession, custody

or control of Defendants that infringe any of Plaintiff’s trademarks, copyrights or other rights

including, without limitation, the Barbie Marks or Barbie Works, or bear any marks that are

confusingly or substantially similar to the Barbie Marks or Barbie pursuant to 15 U.S.C. §

1118;

N.       For an order from the Court requiring that Defendants provide complete accountings

for any and all monies, profits, gains and advantages derived by Defendants from their

manufacturing, importing, exporting, advertising, marketing, promoting, distributing,

displaying, offering for sale, sale and/or otherwise dealing in the Infringing and/or

Counterfeit Products as described herein, including prejudgment interest;

O.       For an order from the Court that an asset freeze or constructive trust be imposed over

any and all monies, profits, gains and advantages in Defendants’ possession which rightfully

belong to Plaintiff;

P.       For an award of exemplary or punitive damages in an amount to be determined by the

Court;

Q.       For Plaintiff’s reasonable attorneys’ fees;

R.       For all costs of suit; and




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Certificate of Registration
                   This Certificate issued under the seal of the Copyright
                   Office in accordance with title 17, United States Code,
                   attests that registration has been made for the work
                   identified below. The information on this certificate has          Registration Number
                   been made a part of the Copyright Office records.                  VA 2-005-795
                                                                                      Effective Date of Registration:

                                          A                                           March 16, 2016

                       United States Register of Copyrights and Director


   Title
                         Title of Work:     Barbie 2017 Seasonal Style Guide Consumer Products & Packaging


   CompletionlPublication
                Year of Completion:         2016
             Date of 1st Publication:       February 25, 2016
            Nation of 1
                      st Publication:       United States

   Author

                   •      Author:           Mattel, Inc.
                   Author Created:          2-D artwork, Text
                Work made for hire:         Yes
                      Domiciled in:         United States

   Copyright Claimant

                Copyright Claimant:         Mattel, Inc.
                                            333 Continental Blvd., El Segundo, CA, 90245, United States




   Certification

                                  Name:     Richelle W. Savage
                                   Date:    March 16,2016


                  Correspondence:           Yes
             Copyright Office notes:        Basis for Registration: collective work




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Certificate of Registration
                   This Certificate issued under the seal of the Copyright
                   Office in accordance with title 17, United States Code,
                   attests that registration has been made for the work
                   identified below. The information on this certificate has
                   been made a part of the Copyright Office records.              Registration Number
                                                                                  VA 2-082-446
                                                                                  Effective Date of Registration:
                                                                                  January 19, 2017
                   Acting United States Register of Copyrights and Director




  Title
                     Title of Work:     Barbie 2018 Consumer Products Guide


  Completion/Publication
               Year of Completion:      2016
            Date of 1st Publication:    December 16, 2016
           Nation of 1St Publication:   United States

  Author

                         Author:        Mattel, Inc.
                  Author Created:       photograph, 2-D artwork, Text
               Work made for hire:      Yes
                     Domiciled in:      United States

  Copyright Claimant

               Copyright Claimant:      Mattel, Inc.
                                        333 Continental Blvd., El Segundo, CA, 90245, United States




  Certification

                              Name:     Richelle W. Savage
                               Date:    January 19, 2017


            Copyright Office notes:     Basis for Registration: Collective work




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